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                         IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF KANSAS

United States of America,

                       Plaintiff,

v.                                                            Case No. 10-20037-02-JWL
                                                              Civil Case No: 14-2452-JWL

Randy J. Dyke,

                       Defendant.

                                    MEMORANDUM & ORDER

          This case stems from an undercover investigation of a “small time criminal ring”

operated by Donald Steele and defendant Randy J. Dyke. See United States v. Dyke, 718 F.3d

1282, 1284 (10th Cir. 2013). The government began its investigation into Mr. Steele and Mr.

Dyke’s activities after Kelly Findley, a cooperating individual hoping to receive some

consideration in his own case, introduced Detective Brian Clemmons (acting undercover) to Mr.

Steele and Mr. Dyke at Mr. Steele’s residence in Lawrence, Kansas. Mr. Steele’s residence was

known as “the Farm” and the vast majority of undercover operations that occurred between

November 2009 and February 2010 occurred at the Farm.            Ultimately, undercover agents

convinced Mr. Steele and Mr. Dyke to expand their operations from “forging checks, peddling

pills, and selling marijuana” to counterfeiting currency and manufacturing methamphetamine.

See id.

          In July 2011, a jury rejected Mr. Dyke’s entrapment defense and convicted Mr. Dyke of

conspiracy to counterfeit Federal Reserve Notes; conspiracy to intentionally manufacture,

distribute and possess with intent to distribute more than 50 grams of methamphetamine, and to
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distribute hydrocodone, methadone and marijuana; possession with intent to distribute

methamphetamine; and distribution of hydrocodone and methadone. This court rejected Mr.

Dyke’s subsequent motion for judgment notwithstanding the verdict or, in the alternative, for a

new trial and sentenced Mr. Dyke to 235-month term of imprisonment. The Tenth Circuit

affirmed Mr. Dyke’s conviction. United States v. Dyke, 718 F.3d 1282 (10th Cir. 2013).

       This matter is now before the court on Mr. Dyke’s motion to vacate, set aside or correct

his sentence pursuant to 28 U.S.C. § 2255 (doc. 323). In his § 2255 motion, Mr. Dyke contends

that his lawyer rendered constitutionally deficient representation that prejudiced Mr. Dyke. He

also requests a reduction in his sentence pursuant to Amendment 782. As will be explained, the

court denies each of Mr. Dyke’s § 2255 claims, denies Mr. Dyke’s request for an evidentiary

hearing, and denies without prejudice to refiling Mr. Dyke’s request for a sentence reduction

pursuant to Amendment 782 while the Federal Public Defender’s office makes an initial

determination of whether Mr. Dyke qualifies for relief under the Amendment.1

       In his motion, Mr. Dyke asserts claims of ineffective assistance of counsel based on his

counsel’s failure to review with Mr. Dyke prior to trial the audio and video recordings relied

upon by the government at trial; his counsel’s failure to call any witnesses at trial on Mr. Dyke’s

behalf; his counsel’s failure to insist upon a voluntary intoxication instruction and to adequately

argue that impairment to the jury; and his counsel’s failure to present mitigation evidence at the

sentencing hearing. Mr. Dyke also makes an additional claim of cumulative error.               “To

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 In ruling on Mr. Dyke’s motion, the court has received and has considered Mr. Dyke’s reply
brief and excuses the late filing of that brief. Mr. Dyke’s reply, in large part, challenges the
affidavit of his counsel that was submitted by the government in response to Mr. Dyke’s motion.
In resolving Mr. Dyke’s claims, the court has not relied on that affidavit in any respect and the
affidavit, then, has had no bearing on the court’s resolution of Mr. Dyke’s claims.
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establish ineffective assistance of counsel, a defendant must show ‘that counsel’s representation

fell below an objective standard of reasonableness’ and that he was prejudiced by the deficient

performance.” United States v. Moya, 676 F.3d 1211, 1213 (10th Cir. 2012) (quoting Strickland

v. Washington, 466 U.S. 668, 687–88 (1984)).        Applying this standard to Mr. Dyke’s claims,

the court rejects each of those claims without the need for an evidentiary hearing.



Failure to Review Undercover Audio Recordings

       For his first claim, Mr. Dyke contends that he received ineffective assistance of counsel

because his counsel, prior to trial, failed to review with Mr. Dyke the numerous undercover

audio recordings relied upon by the government at trial (and taken from a body wire worn by

Detective Clemmons). On these audio recordings, the jury heard Mr. Dyke speaking clearly and

coherently with the undercover team about his criminal plans and activities. According to Mr.

Dyke, if his counsel had reviewed these recordings with him prior to trial, Mr. Dyke would have

been able to defend against those recordings by challenging the authenticity of the recordings

such that the recordings would not have been admitted into evidence. According to Mr. Dyke,

the recordings were altered through the omission of Mr. Dyke’s purported statement, on one

occasion, to the undercover team that he “wanted nothing to do with drugs.”

       This claim is rejected. To begin, Detective Clemmons’ testimony at trial was sufficient

to authenticate the recordings and to support admission under Federal Rule of Evidence 901.

See United States v. Haley, 496 Fed. Appx. 771, 773 (10th Cir. 2012). Any dispute over the

reliability or accuracy of the recordings would go only to the weight of the evidence and would

not have precluded admission of the evidence. United States v. Guang, 511 F.3d 110, 120 (2d

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Cir. 2007) (rejecting ineffective assistance claim that counsel unreasonably failed to challenge

the authenticity of audio recordings; testimony of authenticating witness was sufficient to

support admission and disputes over reliability or accuracy went to weight rather than

admissibility). Thus, Mr. Dyke cannot show that he suffered any prejudice as a result of his

counsel’s purported failure to review the audio recordings with him prior to trial and any related

failure to challenge the authenticity or admissibility of the recordings. Moreover, the alleged

omission of the single statement identified by Mr. Dyke did not change the outcome of the trial

in the face of overwhelming evidence of Mr. Dyke’s guilt, including numerous audio recordings

on which Mr. Dyke can be heard discussing his criminal plans and activities.

       Finally, even assuming that Mr. Dyke did not have the opportunity to hear the audio

recordings prior to trial, he obviously heard those recordings during the trial itself and could

have, at that time, raised an objection if he believed that the recordings had omitted significant

statements from Mr. Dyke to his detriment. Mr. Dyke, however, does not indicate that he

attempted in any way to bring any inaccuracy in the recordings to his counsel’s attention during

the trial. For this reason, too, his ineffective assistance claim fails.



Failure to Call Witnesses at Trial

       Mr. Dyke contends that he received ineffective assistance of counsel at trial when his

counsel failed to call witnesses to testify on Mr. Dyke’s behalf. Mr. Dyke avers that he provided

a list of potential witnesses to his counsel and that these witnesses would have testified to the

jury about Mr. Dyke’s good character; that Mr. Dyke did not use illegal drugs; that Mr. Dyke

did not own expensive cars, clothing or other items that a drug dealer might own; that they had

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no knowledge of Mr. Dyke engaging in the illegal activities outlined in the indictment; and that

Mr. Dyke, a frequent and heaver consumer of alcohol, often appears sober and coherent even

when he is intoxicated. Mr. Dyke avers that his counsel did not call these witnesses at trial

despite the fact that Mr. Dyke provided him with a list of these potential witnesses during the

pre-trial phase of the case.

       Mr. Dyke cannot establish the requisite prejudice with respect to this claim because the

proffered testimony would not have changed the outcome of trial. United States v. Edwards,

___ Fed. Appx. ___, 2014 WL 5438113, at *5 (10th Cir. Oct. 28, 2014) (rejecting failure-to-

call-witnesses claim where proffered testimony would not have changed outcome of trial). The

witnesses’ purported lack of knowledge of Mr. Dyke’s drug trafficking activities has no bearing

on whether Mr. Dyke, in fact, sold drugs as the evidence overwhelmingly demonstrated at trial.

This is particularly true when the evidence demonstrated that the vast majority of Mr. Dyke’s

unlawful conduct occurred at Mr. Steele’s residence outside the presence of his family. Other

issues on which these witnesses allegedly would have testified were simply not disputed by the

government, such as the fact that Mr. Dyke did not use methamphetamine and did not live the

“high-end” lifestyle of a drug dealer. Testimony as to these facts, then, would simply not have

changed the verdict in this case. Finally, proffered testimony that Mr. Dyke often appears

coherent and sober even when intoxicated would not be sufficient to permit the jury—despite

audio and video evidence depicting Mr. Dyke as coherent and unimpaired—to conclude that Mr.

Dyke was so intoxicated or impaired during the commission of the crimes charged that he could

not form the requisite specific intent, thereby requiring a “not guilty” verdict. Significantly, in

order for the jury to have found that Mr. Dyke’s intoxication prevented him from forming the

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requisite intent required for a conviction, those witnesses would have needed to testify that Mr.

Dyke was actually intoxicated and impaired during the commission of the crimes charged.

Because none of the prospective witnesses was present during the commission of the crimes or

was involved in the conspiracies charged in any way, these witnesses obviously could not testify

to that fact. In other words, these witnesses could not provide any evidence that might allow the

jury to conclude that Mr. Dyke was so mentally incapacitated at the pertinent times that he was

unable to form the specific mental state required by the crimes charged. United States v. Rivera-

Carrera, 386 F.ed Appx. 812, 816 (10th Cir. 2010). For these reasons, testimony that Mr. Dyke

might appear sober when he is intoxicated is insufficient to change the outcome of trial.



Voluntary Intoxication Instruction and Defense

       At trial, Mr. Dyke proffered an intoxication instruction explaining that the jury could

consider evidence “of the defendant’s intoxication in deciding whether the government has

proved beyond a reasonable doubt that the defendant acted with the intent required to commit

the crimes charged.” The court declined to give this or any other intoxication instruction to the

jury. Mr. Dyke challenged this decision in his motion for new trial and on appeal. The circuit

held that Mr. Dyke failed to present sufficient evidence to create a triable question of voluntary

intoxication and no evidence of a mental impairment to the point that he could not form the

mens rea necessary to commit the crimes in question. United States v. Dyke, 718 F.3d 1282,

1293 (10th Cir. 2013).

       Mr. Dyke now contends that his counsel was ineffective because he failed to adequately

demonstrate to the court and to the jury that Mr. Dyke was suffering from a mental impairment

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by virtue of his alcohol consumption sufficient to warrant the intoxication instruction. Mr. Dyke

further contends that his counsel should have secured an expert witness to testify that Mr.

Dyke’s alcohol consumption was so great that he could not have formed the requisite mens rea

for the crimes. This claim fails because Mr. Dyke can establish no prejudice from his counsel’s

purported failures. Even if his counsel had argued more vigorously to the jury and to the court

that Mr. Dyke was impaired by alcohol to the point that he could not form the mens rea

necessary to commit the crimes, no fact finder could reasonably draw that conclusion in the face

of overwhelming evidence of Mr. Dyke acting and speaking (on video and audio) clearly and

coherently during his criminal activities. As noted by the Circuit, the recordings introduced at

trial “failed to suggest any of the usual signs of impairment” and demonstrated that Mr. Dyke

“spoke all too coherently and clearly about his criminal plans.” Id. at 1294. As to Mr. Dyke’s

suggestion that his counsel should have called an expert to testify that Mr. Dyke was mentally

impaired, the court, in all likelihood, would not have permitted such testimony in the absence of

facts to support it. Because the expert witness would not have been present during the times that

Mr. Dyke alleges that he was mentally impaired, any “expert” testimony that Mr. Dyke was

mentally impaired at those times—particularly in the face of recordings demonstrating the

opposite—would have been speculative.



Failure to Present Mitigation Evidence at Sentencing

      Mr. Dyke contends that his counsel provided constitutionally deficient performance by

failing to present mitigation evidence at Mr. Dyke’s sentencing in the form of various witnesses

who, according to Mr. Dyke, would have testified as to Mr. Dyke’s character, poor health,

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substance abuse and ability to appear coherent and sober even when heavily intoxicated.         The

claim fails in the first instance because Mr. Dyke has not shown that his counsel’s conduct was

unreasonable or deficient. In fact, counsel for Mr. Dyke advised the court at sentencing that

family members and friends were present and desired to address the court, but the court advised

counsel that the court typically did not permit such testimony at sentencing. It is difficult, then,

to fault Mr. Dyke’s counsel for failing to call these witnesses when the court all but rejected

counsel’s suggestion that he intended to call those witnesses.         Moreover, while the court

ultimately advised counsel that he could call those individuals as witnesses, the court cautioned

counsel that the witnesses would be sworn and would be subject to cross-examination. As the

record reflects, counsel for Mr. Dyke explained that the anticipated testimony of the witnesses

was duplicative of numerous letters submitted to the court on Mr. Dyke’s behalf—twenty-four

(24) letters in total—and he decided to rely exclusively on the substance of the letters. In

relying on those letters and declining to subject Mr. Dyke’s friends and family to cross-

examination, counsel’s judgment was sound.

        In any event, Mr. Dyke cannot establish any actual prejudice from the failure to call these

witnesses. As noted, the record in this case reflects that Mr. Dyke’s counsel submitted to the

court letters on Mr. Dyke’s behalf from 24 individuals and that many of those letters were

written by individuals in Mr. Dyke’s community who received assistance from Mr. Dyke in the

past.    The letters reflect that Mr. Dyke frequently helped the homeless population in his

community and other individuals in need; that he worked at a number of food kitchens; and that

he struggled with his addiction to alcohol. The letters reflect that members of Mr. Dyke’s

community—certainly beyond Mr. Dyke’s circle of family and friends—believe that Mr. Dyke

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is a good person and a person who contributes to society in meaningful ways. Thus, these letters

communicated to the court the very information that Mr. Dyke contends would have been

communicated to the court through testimony at the sentencing hearing.             Moreover, in

sentencing Mr. Dyke, the court, after considering the totality of the circumstances including the

letters provided on Mr. Dyke’s behalf, sentenced Mr. Dyke to 235 months (less than the

minimum sentence recommended by the guidelines) through a downward variance with regard

to Mr. Dyke’s criminal history score, which the court concluded overstated Mr. Dyke’s threat to

society in terms of his involvement in the trafficking of methamphetamine. Mr. Dyke has not

shown, and cannot show, that he would have received a lesser sentence if counsel had called

witnesses to testify at sentencing on Mr. Dyke’s behalf. United States v. Strasser, 502 Fed.

Appx. 736, 740 (10th Cir. 2012) (in light of district court’s downward variance from the

guideline range, defendant had not shown that it was “more likely than not” that the court would

have imposed a lesser sentence but for counsel’s asserted errors at sentencing).



Cumulative Error

       Lastly, Mr. Dyke makes a claim of cumulative error in connection with the errors

allegedly made by his counsel.       A cumulative error analysis aggregates any errors that

individually have been found to be harmless and analyzes whether their cumulative effect on the

outcome of trial is such that collectively that can no longer be determined to be harmless.

Wilson v. Sirmons, 536 F.3d 1064, 1122 (10th Cir. 2008). Because the court has found no merit

to any of the issues raised by Mr. Dyke, there is no basis for applying a cumulative error

analysis. United States v. Gonzalez, 596 F.3d 1228, 1244 (10th Cir. 2010).

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Certificate of Appealability

       Effective December 1, 2009, Rule 11 of the Rules Governing Section 2255 Proceedings

states that the court must issue or deny a certificate of appealability when it enters a final order

adverse to the applicant. “A certificate of appealability may issue . . . only if the applicant has

made a substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). To

satisfy this standard, the petitioner must demonstrate that “reasonable jurists would find the

district court’s assessment of the constitutional claims debatable or wrong.” See Saiz v. Ortiz,

393 F.3d 1166, 1171 n.3 (10th Cir. 2004) (quoting Tennard v. Dretke, 542 U.S. 274, 282

(2004)). With respect to the claims dismissed above, for the same reasons stated, Mr. Dyke has

not made a substantial showing of the denial of a constitutional right; the court therefore denies

a certificate of appealability with respect to those issues.



Amendment 782

       Mr. Dyke also incorporates into his § 2255 motion, which the court construes as a motion

for sentence reduction pursuant to 18 U.S.C. § 3582(c), a request for a sentence reduction

pursuant to Amendment 782 to the United States Sentencing Guidelines which took effect on

November 1, 2014 and lowers the base offense levels in the Drug Quantity Table. On July 18,

2014, the United States Sentencing Commission voted to apply the amendment retroactively to

those offenders currently in prison, but with a requirement that the reduced sentences cannot

take effect until November 1, 2015. The Honorable J. Thomas Marten of the District of Kansas

recently appointed the Office of the Federal Public Defender to represent any defendant

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previously determined to have been entitled to appointment of counsel, or who is now indigent,

to determine whether that defendant may qualify for relief under Amendment 782.

       The record reflects that Mr. Dyke may be entitled to have the Federal Public Defender

represent him to determine in the first instance whether Mr. Dyke qualifies for relief under the

amendment. In light of these circumstances, the court believes that the most efficient way to

resolve this issue is to forward Mr. Dyke’s motion (along with a copy of this order) to the Office

of the Federal Public Defender for an initial determination of whether Mr. Dyke qualifies for

representation and is entitled to a reduction in his sentence in light of the amendment. In the

meantime, the court will deny this aspect of Mr. Dyke’s motion without prejudice to refiling the

motion on or after February 2, 2015 if the Office of the Public Defender declines to seek relief

for Mr. Dyke under Amendment 782.



       IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Dyke’s motion to

vacate under 28 U.S.C. § 2255 (doc. 323) is denied and the court denies a certificate of

appealability on those claims; Mr. Dyke’s motion to reduce sentence pursuant to 18 U.S.C. §

3582(c) (doc. 323) is denied without prejudice.



       IT IS SO ORDERED.

       Dated this 22nd day of December, 2014, at Kansas City, Kansas.



                                                   s/ John W. Lungstrum
                                                   John W. Lungstrum
                                                   United States District Judge

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